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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                   )
KEVIN AYRES, et al.,                               )
                                                   )
       Plaintiffs,                                 )
                                                   )
v.                                                 )        Case No. 1:18-cv-00265-RCL
                                                   )
THE ISLAMIC REPUBLIC OF IRAN,                      )
                                                   )

_______________
       Defendant.                                  )
                                                   )

                                 MEMORANDUM OPINION

                                      I.      LIABILITY

       This civil ~ction was brought under 28 U.S.C. § 1605A and arises out of the bombing of

the United States Marine barracks in Beirut, Lebanon on October 23, 1983. Compl.,.ECF.No.. 1.

Filed on February 5, 20 l 8, the complaint was brought by servicemen killed or injured in the

terrorist attack, their estates, and family members. Defendant was served through diplomatic .

channels on June 20, 2018. ECF No. 12. Following defendant's failure to answer, and upon

affidavit by plaintiffs' counsel, the clerk of court entered a·default e>n .September 6, 20-18. ECF: •
                                                                                              1          1'    .




Nos. 13 & 14.

       On May 29, 2019, plaintiffs filed for default judgment, asking this Courtto'"takejudicial              · · ·

notice of all of the findings of fact and conclusions of law contained in the Court's May 30, 2003

Memorandum Opinion entered in the related cases" of Peterson v. Islamic Republicof Iran,·No.

l :0l-cv-2094 (RCL) (D.D.C. May 30, 2003), and Boulos v. Islamic Republic ofIran,No. l:0l-cv-

2684 (RCL) (D.D.C. May 30, 2003). ECF No. 15. Plaintiffs also moved;to appoint a special .

master. Id This Court granted both requests on February 3, 2020. ECF No. 19.




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                                        II.    DAMAGES

        Damages available under the FSIA "include economic damages, solatium, pain and

suffering, and punitive damages." 28 U.S.C. § 1605A(c). Eligible survivors· may recover for their

pain and suffering; estates of the deceased may recover economic losses; family members may

recover solatium for their emotional injury; and all plaintiffs may recover punitive damages.

Va/ore v. Islamic Republic ofIran, 700 F. Supp. 2d 52, 82-.83 (D.D.C. 2010) ..   i   i   ,




       Under the FSIA, a "default winner must prove damages 'in the same manner and.to the

same extent' as any other default winner." Hill v. Republic of Iraq, 328 F.3d 680, 683-84 (D.C ..

Cir. 2003) (quoting Alameda v. Sec'y of Health, Educ. & Welfare,' 622, F.2d l044, 1048 (1st .Cir.         ··

1980)). Each "must prove that the consequences of the defendant['s] conduct were 'reasonably,. · , ..

certain (i.e., more likely than not) to occur, and must prove the amount of the damages. by a

reasonable estimate consistent with this [Circuit's] application of the American rule on damages)'~ , .

Salazar v. Islamic Republic of Iran, 370 F. Supp. 2d 105, 115-16 (D.D.C. 2005) (internal

quotations omitted) (quoting Hill, 328 F.3d at 681).        Plaintiffs in this action have amply

demonstrated that defendant's commission of acts of extrajudicial killing and provision·of material

support and resources for such killing were reasonably certain to-and, indeed, intended tO---:-Cause

injury to plaintiffs. See Peterson v. Islamic Republic ofIran(Petersonll),515 F.. Supp. 2d 25, 37

(D.D.C. 2007).

       Apropos of damage awards, the Court has received and reviewed the·recommendations·of ·

the special master and ADOPTS, without discussion, all facts found and recommendations made            ,

that conform to the well-established damages frameworks articulated below. See Peterson II,

at 52-53; Valore, 700 F. Supp. 2d at 84-87. The Court will, however,· discuss those instances:

where the special master has recommended awards deviating from these frameworks. The- Court



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will also address those instances where plaintiffs filed objections• to the special .master's

recommendations.

        A.      Pain and Suffering

        Assessing damages for physical injury or mental disability implicates a myriad of factors.

Where "death was instantaneous there can be no recovery . ~ .." Elahi v. -Islamic Republic ofIran,

124 F. Supp. 2d 97, 112 (D.D.C. 2000) (citation omitted); see also- Thuneibat v.' Syrian Arab

Republic, 167 F. Supp. 3d 22, 39 n.4 (D.D.C. 2016) (where plaintiffs "submit[],no- evidence.· •. ··

showing that either of the [v]ictims suffered any pain and suffering prior, to their, deaths· in the: ·

suicide bombings," damages must be denied). Victims who survived a few-minutes to a few hours ···· · · ·

after the bombing typically receive an award of$ I million: Elahi,· I 24 .P; Supp;-2d· at HJ. ··                   · ·' ·

        For victims surviving for a longer period of time, courts balance "the severity-of the. pain

immediately following the injury, the length of hospitalization, and the extent of the impairment

that will remain with the victim for the rest of his or her life." Peterson II, 515 F. Supp. 2d at 52

n.26 (citing Blais v. Islamic Republic ofIran, 459 F. Supp. 2d 40, 59 (D.D.C. 2006)). In Peterson

II, this Court adopted a general procedure for calculating damages -that begins with the baseline•: ..

assumption that persons suffering substantial physical injuries in terrorist attacks are: entitled to; $5:. -.-:.. :

million in compensatory damages. Id at 54. This approach-is. not rigidly applied, however, and

this Court will "depart upward from this baseline to $7.5-$12-milliondn more severe,instances of•. ·
                                                                                         1




physical and psychological pain, such as where victims suffered relatively more numerous ana

severe injuries, were rendered quadriplegic, partially lost vision and hearing, or were mistaken- for •

dead," Va/ore, 700 F. Supp. 2d at 84, and will "depart downward to $2-$3 million where victims.

suffered only minor shrapnel injuries or minor injury from 'Srriall-arms· fire.''· Q,'Br.ien v: 1slamic·· · · · · · ·· ·

Republic of Iran, 853 F. Supp. 2d 44, 47 (D.D.C. 2012) (citation· and intemal'-quotation marks ·


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omitted). And for servicemen suffering emotional but no physical injury, this Court has adopted

a general framework for calculating pain and suffering damages whereby they are "typically

awarded ... $1.5 million." Davis v. Islamic Republic ofIran, 882 F. Supp. 2d 7, 12 (D.D.C. 2012)

(citations omitted).

       The following represents instances where the special master.~s recommended awardsi for ..

pain and suffering damages do not comport with the frameworks articulated, above -and where · .

plaintiffs objected to the special master's recommendations,: . .. ii   ·.   ·                              1   'I,




               1.      Upward Departures

                       (a)     William C. Kilgore, Jr.

       The special master recommended William Kilgore, Jr. receive an enhancement of $500,000           r




to the $1.5 million typically awarded victims who "suffer[ed] severe emotional injury without.

physical injury." Kaplan v. Hezbollah, 213 F. Supp. 3d 27, 36 (D.D.C. 2016) (citing Harrison v.

Republic of Sudan, 882 F. Supp. 2d 23, 49 (D.D.C. 2012)). Report of Special Master re: William

C. Kilgore, Jr., ECF No. 46 at 10.

       Mr. Kilgore was tasked with helping the FBI and the NIS search for bomb parts and other , , • , . ·

evidence that might unearth the identity of those responsible for the attack. He was also directed

to "sift through the crater and sand to recover any bodies. or body parts"-·a task he performed ··· ·

under the blazing sun surrounded by the "smell of death" while taking on sniper fire. At one poirit,

Mr. Kilgore uncovered the disembodied head of a fellow Marine.: . . · , ,,                    .. ,· ·

       Following his experience in Beirut, Mr. Kilgore was diagnosed with "Post-traumatic stress ·.

disorder, unspecified" and "Major Depressive Disorder, recurrent, moderate"-a mood .disorder

characterized both by persistent and pervasive loss of interest in all or most previously enjoyable

activities and by "vegetative symptoms" that include low self-esteem; hopelessness for the future,



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and   suicidal   thoughts.     He    underwent    five   years   of therapy;    which    included

"psychophannacological treatment as well as various modalities of talk-therapy, including-CST

[Cognitive Behavioral Therapy], trauma-focused CBT, and ... EMDR [Eye Movement

Desensitization and Reprocessing]." During these sessions, Mr. Kilgore expressed feelings of

loneliness, guilt, and worthlessness and continued to experience · nightmares and "some

flashbacks"-conditions that often surfaced after "he ha[d] be·en with or talk[ed] to one ;of his

Marine buddies or [seen] something on television." Medical reports confirm that, as of June 2014;

Mr. Kilgore had been prescribed no fewer than 14 medications to alleviate his•physical ailments·,

and psychological distress. These records also note the etiology of Mr., Kilgore's condition;-

attributing his deteriorating mental state and chronic Post-Traumatic· Stress-Disord~r ("PTSO'?} ·

symptoms "to his experiences while serving for the U.S. Marine Corps in Beirut/' specifically,.

"the bombing which occurred in October 1983" and his role "cleaning up bodies which remained

after the bombing incident."

       The special master found that, unlike claimants whose compensatory. claims- for

psychological distress rest on self-diagnosed ailments and· ambiguous, contradictory, and- often.

inflated accounts bolstered by unannotated Veterans' Affairs ("VA") reports and naked rating -

percentages, Mr. Kilgore provided three years of detailed mediealdocumentation -confirming he .

has suffered the debilitating effects of PTSD and Major Depressive-Disorder for, which.he· has

undergone intensive therapy and has been prescribed a• regimen of antipsychotic: and ,·other:

medications.

       The $1.5 million baseline established by this Court implicitly acknowledges that all

survivors of the Beirut massacre are presumed to suffer "lasting and severe psychological.problems

from the attack." Estate of Doe v. Islamic Republic of Iran, 943 F. Supp. 2d 180, 188 (D.D.C.



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2013). An enhancement is warranted, however, where a survivor presents. with a profound set of

documented ailments resulting from their experience. The Court agrees such an enhancement is

appropriate and ADOPTS the special master's recommendation that William Kilgore be awarded··

$2 million for pain and suffering.

                       (b)     Charles R. Ogle

       The special master recommended Charles Ogle be awarded $2· million. for pain and

suffering, representing an enhancement of $500,000 from the $ L5 minion presumptive .baseline.

established by this Court. Report of Special Master re: Charles.R. Ogle and Melanie A. Ogle,. ECF .

No. 57 at 15-16.

       Foil owing the blast, Mr. Ogle and his squad were directed to-assist with· the search, rescue, , . ,· .

and recovery efforts. While performing these duties amidst the carnage, he encountered the body

parts of fellow Marines strewn everywhere amidst the cries of servicemen hopelessly trapped

under immovable concrete slabs.

       The special master based his recommendation not only on Mr. Ogle's detailed description

of the events leading to his trauma but ( 1) on medical records describing how he suffered a "stress--

induced" heart attack; (2) on VA disability ratings linking his PTSD and· other related trauma-

induced injuries to his service in Beirut; and (3) to the fact that the ensuing "surgeries, PTSD,

migraines, and narcolepsy" led to Mr. Ogle's complete withdrawal from society .... The special

master observed how Mr. Ogle currently lives by himself in the woods with no neighbors:or friends,

and is unable to sleep unless heavily medicated on "cough syrup, melatonin, Xanax; and whiskey.'.'.

On this record, the Court agrees that Mr. Ogle's ailments go beyond the normal range of mental .

disorders that generally inform the established $1.5 million baseline,, and ADOPTS-the special




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master's recommendation that Charles Ogle be awarded $2 million in damages for pain .and

suffering.

                      (c)     Gary G. Lewis

       The special master recommended Gary Lewis receive an enhanced compensatory award of

$2 million. Report of Special Master re: Gary G. Lewis, ECF No. 48 at ll-12. Mr. Lewis was

among those involved in the recovery effort immediately following the October 23 bombing.· His ,

duties included sifting through the bodies and remains of his-fallen comrades. Records:from the

Boston VA Medical Center and the Viera VA Clinic confirm ,that Mr.·-Lewis has endured a· ·

prolonged battle with PTSD and dysthymia (persistent depressive disorder), panic disorder· with·

agoraphobia, and alcohol abuse as a result of his experience in Beirut· Medical records reflect Mr.··:·

Lewis's cyclical moods, anxiety, depression, agoraphobia, inability to tolerate '.'people/unfamiliar·

terrain" or leave the house, alcohol binges, flashbacks, and additional "triggers to his own mid~

east related trauma." Mr. Lewis's treating physicians believe he is ''getting steadily worse," noting

that he displayed an "emotional rollercoaster of anxiety, fear,. anger-at himself, crying spells,-·

agoraphobic isolation" and "feel[ings] like 'they' are coming after·himeverywhere.?~ Reports:froin      <



the VA confirm a suicide attempt in January 2014.

       As of December 2016, Mr. Lewis has been prescribed at least. 1s. medications, including . ·

anti psychotics, antidepressants, and immune-system suppressants. •Doctors •at, the VA observed,·•. , ,

Mr. Lewis exhibiting symptoms of "impaired impulse control; inability to· establish and maintain·

effective relationships; unprovoked irritability with periods ofviolence; difficulty in establishing

and maintaining effective work and social relationships; panic attacks more than once· a week;

anxiety; chronic sleep impairment; depressed mood; mild memory loss; suspiciousness!~! They




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have concluded Mr. Lewis has a "total occupational and social impairment," and believe it unlikely

he will ever sustain gainful employment in the "foreseeable future."

       The Court concurs with the special master that Mr. Lewis's ailments exceed the normal

range of psychological disorders that generally ground a $1.5 million baseline award, and

ADOPTS the recommendation that Gary Lewis be awarded $2 million in· damages for pain and.

suffering.

                      (d)     Eugene Smith

       The special master recommended Eugene Smith be awarded $2 million. for pain .and .

suffering-an enhancement of $500,000 from the baseline established, by. this Court. Report; of·

Special Master re: Eugene Smith, ECF No. 54 at 11.                                     ,   . · ·i, ·   ·   ,




       Mr. Smith offered a graphic account of the events that transpired following the bombing,

describing in vivid detail (1) the difficulties he encountered holding on to the corpses of those

killed in the attack; (2) how it took multiple servicemen to move one body in order to prevent the ·

deceased's head from dragging on the ground; and (3) how he and the others'. stacked rows of

corpses.                                                     . · •·. ·

       Rather than limit the description of his psychological injuries to subjective exposition,Mr. · · ··

Smith supplied (1) ten years of "Consult Requests" and "Progress .Notes" from the Fayetteville

VA Medical Center; (2) an excerpted copy of a June 15 2012 decision issued by the Board. of

Veterans' Appeals; and (3) a letter from Edwin D. Hoeper, M.D., his-treating psychiatrist at the

Goldsboro Psychiatric Clinic.     These records confirm not only· that Mr. ·Smith experiences

"intrusive recollections of events in Beirut in 1983 when Marine compound was destroyed," but ·.

that he suffers from PTSD, manifesting in flashbacks, hypervigilance, anxiety, and insomnia-a

consequence of his "help[ing] remove[] dead bodies from Marine Barracks in Beirut in-1983"-



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establishing the required causality between his injuries and his participation in the recovery efforts

following the bombing.       Dr. Hoeper diagnosed Mr. Smith with Chronic• Major Depression

accompanied by symptoms that include frequent nightmares, panic attacks, flashbacksr

sleeplessness, intrusive thoughts, hypervigilance, withdrawal, severe (100%) short-term memory

impairment, anger, sadness, fear, hallucinations, illusions, depression, fatigue, and suicidal

ideation. Moreover, Dr. Hoeper linked his condition to his witnessing• "the·injuries and deaths of · •

fellow soldiers and others" and "assist[ing] in the bagging ofthe dead bodies/'··: ·

       This Court agrees with the special master that Mr. Smith's. ailments ,go-beyond the range.·· .,

of psychological injuries that generally inform the $1.5 million baseline·award·and ADOPTS·the ,.•

recommendation that Eugene Smith be awarded compensatory damages of·$2 million~ ... - .. ·       ! • • · ·-




                       (e)     Michael Dross

       On Monday, February 14, 2022, the special master filed the Report of Special Master re:·

Michael Oross, ECF No. 52, recommending Mr. Oross's claim be denied due to a lack of medical ...

documentation confirming his stated psychological trauma coupled. with a. failure to establish a- ,

causative link between those injuries and his experience at: Rhein· AFB ini ,Frankfurt-,, Germany·•.· •

where Mr. Oross was stationed at the time of the attack. Id. at 9-1-L Rhein AFB;was·the staging:·.:.

ground chosen by the military for the identification and processing of the remains, of.those- who,·.. ··.

perished in the Marine Barracks bombing. Mr. Oross participated, in. those efforts for -17 days,. , ·. .· ·,

       Mr. Oross sought reconsideration of the special master's recommendation, submitting, for ·

the first time, 500 pages of medical documentation generated by the VA. Based on these· records,· ·· · ·

the special master filed an amended report in which he concluded that Mr. Oross not only .was·                · ··
entitled to an award redressing his damages but that he receive an-enhancement of$500,000.· Am~· .

Report of Special Master re: Michael 8. Oross, ECF No. 64· at:5 .. The revised recommendation '



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was based on authenticated reports revealing both persistent psychological injuries and a

conclusive nexus between Mr. Oross's activities at Rhein AFB and the· severe trauma he

subsequently suffered. The special master reasoned an enhancement was warranted due to Mr.

Oross's unprecedented exposure to the horrific aftermath of the blast, especially when compared

to those servicemen who spent a relatively brief period assisting with recovery effort and were

awarded $1.5 million. See, e.g., Worley v. Islamic Republic- of Iran, No. ·bl2-cv-2069-(RCL)

(D.D.C. Sept. 22, 2015), ECF No. 54 at 7 (suggesting a $1..5 million award for Mario·Vasquez,: '

who dug through the rubble for seven hours, finding bodies and bqdy parts); Davis1 No. 1:07-cv- ...... .

1302 (RCL) (D.D.C. Nov. 18, 2010), ECFNo. 37 at4 (suggesting a$l.5 million award•forThomas

Ho~e, who identified and transported wounded for approximately,.two; days);, Bova :vrlslamic --

Republic ofIran, No. 1: 15-cv-1074 (RCL) (D.D.C. May 31, 2020), ECF No. 88 at 3 (suggesting a

$1.5 million award for Alan Opra, who admittedly "worked a little bit on the recovery," during•

which he encountered pieces of human remains and flesh). For more than two weeks, he handled,

processed, and identified the decomposing body parts of his fellow servicemen, resulting in·.

profound cognitive and psychological damage. The specialmaster:reasoned-that Mr.• Oross, who

suffered profound cognitive and psychological damage after spendirig--more -than--two-weeks :... :.

handling, processing, and identifying the decomposing body parts.-of his fellow servicelJlen,

deserved more.

       This Court agrees with the special master that Mr. Oross ~s experiences and. subsequent,

psychological trauma were unique in their severity and warrant an enhancementto the $•1 ,.5 million

baseline. The Court ADOPTS the recommendation that Michael,Oross be awarded compensatory .

damages in the amount of $2 million.                         . , ·• -. •• •               •.. ·. ,




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                2.       Downward Departures

                         (a)   Kevin R. Ayres

        The special master recommended Kevin Ayres receive a diminished compensatory award

of$750,000, representing one-half of the $1.5 million baseline. Report of Special Master re: Kevin

R. Ayres ("Ayres Report"), ECF No. 39 at 16. In support, the special master cited inconsistencies

in Mr. Ayres's description of his participation in the· .·search · and rescue• initiative,

misrepresentations about his disability rating, and a tenuous· nexus· between the terrorist attack and

his asserted injuries.

        The special master was troubled by the discrepancies between the account Mr.-Ayres gave· ·

the VA and that supplied in the declarations supporting· the instant plea for· damages:· On ·

October 30, 2009, 11 years before the underlying action was filed, Mr. Ayres executed a Statement··

in Support of his Veteran's Application for Compensation and/or Pension ("Statement in Support")

in which he maintained that, for"[ a]pproximately two weeks" after the destruction of the Battalion

Landing Team ("BLT"), he was "man[ning] the radios" aboard the USS El Paso. According to. his:

Statement in Support, by the time he returned to shore, those engaged in the ·recovery efforts "had

gotten the bodies and the injured out." In his declarations supporting his '.instant prayer for relief, ·

however, Mr. Ayres depicted himself as an active participant in the search, rescu~,-and recovery-

initiative who witnessed "dead and crushed bodies and body,parts,"."detached· limbs'.and .guts,'~·

and similar horrors. In addition, the Statement in Support makes no mention of the blackouts, .

nightmares, suicide attempts, employment difficulties, substance abuse, and startled reactions for·

which he now seeks redress. It lists his sole injury was "survivors' guilt, knowing that some of

the people that [he] knew had died."




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        The special master also took issue with Mr. Ayres's representation that the VA rated him

as "80 percent disabled (70 percent disabled because of my PTSD and 10 percent disabled because

of my Tinnitus) as a result of the Marine Barracks Bombing.'·' Upon closer examination, however,

the special master discovered that Mr. Ayres's disability rating for PTSD never rose above 30%.

And that rating, according to the VA, bore no connection to· the barracks bombing but to Mr.

Ayres's receipt of a Combat Action Ribbon, which, in the context of a disability rating-; establishes•.

"conclusively the occurrence of an in-service stressor." Ayres Report at 13. In other words, there· •, ·

is no evidence Mr. Ayres's psychological trauma was proximately .. caused by. the events. of.

October 23, 1983.

        Under the FSIA, "there is no but-for causation requirement ... :.- proximate· ·cause is:·

sufficient," Owens v. Republic of Sudan, 71 F. Supp. 3d 252, 256 n.2· (D.D.C. 2014) (quoting-.

Va/ore, 700 F. Supp. 2d at 75), and requires only "some reasonable connection between the act or

omission of the defendant and the damages which the plaintiff has suffere&" Estate of Doe v.

Islamic Republic of Iran, 808 F. Supp. 2d l, 16 (D.D.C. 2011) (quoting Kilburn v. Socialist ·

People's Libyan Arab Jamahiriya, 376 F.3d 1123, 112~29 (D.C. Cir. ,2004)). Despite this                1




relatively lenient standard, it requires proof that the defendanf s actions were a ~'substantial• factor

in the sequence of events that led to the plaintiffs injury,"_ and that plaintiffs injury was

"reasonably foreseeable or anticipated as a natural consequence of the defendant's conduct:" Lee.

v. Islamic Republic of Iran, 518 F. Supp. 3d 4 75, 493 (D.D.C. 2021) (quoting Owens v. Republic.

of Sudan, 864 F.3d 751, 794 (D.C. Cir. 2017), vacated and remanded on other gr.ounds·sub nom.              ··.

Opati v. Republic of Sudan, 140 S. Ct. 1601 (2020)) (internal quotation marks omitted).' The

required causal link in this instance is lacking.




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       With respect to Mr. Ayres' s shifting narratives, the special master is charged with

reviewing and ascertaining the credibility of statements supporting claims for relief•. In that spirit,

he "may accept plaintiffs' uncontroverted evidence as true." Lanny J. Davis & Assocs. LLC v.

Republic of Equatorial Guinea, 962 F. Supp. 2d 152, 163 (D.D.C. 2013) (citation omitted)

(emphasis added). Here, the evidence is not only refuted, it is inherently contradictory .. The special

master committed no error when he chose not to accept Mr.Ayres's assertions• at face value and

conclude that Mr. Ayres had no direct participation in the recovery efforts.

       On these findings, the special master analogized Mr. Ayres's situation to·that of Al.Duncan,-·

a serviceman who neither engaged in the Beirut bombing rescue operation,' searched for survivors,

nor collected the remains of the blast's victims. For witnessing the-debris, overturned· vehicles,

furniture, and personal effects of lost servicemen, this Court awarded Mr~. Duncan· $750,000. See

Relvas v. Islamic Republic of Iran, No. I: 14-cv-0 1752 (RCL), 2018 WL 1092445, at *3 (D.D.C.

Feb. 28, 2018). The identical award was given to Ross Morrison based on testimony that he did

not participate in the rescue initiative and only observed its aftermath from a distance. Id. at *4.

       This Court concurs with the special master's conclusion that a downward departure·from

the $1.5 million baseline is warranted, and ADOPTS the recommendation that Kevin Ayres be

awarded $750,000.                                             ;   '.   -,:·· ... ·


                       (b)     Megunah Ben Qehath                                             LI:',',,,
                                                                                                          1
                                                                                                              •,   ,'   ,   '   .


       The special master also recommended a downward departure of $750,000-as eompensation.

for the psychological damages suffered by serviceman Megunah Ben. Qehath.. Report of Special;

Master re: Megunah Ben Qehath, ECF No. 53 at 11.

       At the time of the blast, Mr. Qehath was posted one mile· from the· BLT.· He was

subsequently assigned to a two-week security detail far from the barracks.: Mr. Qehath was neither



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physically injured nor did he participate in the rescue and recovery operation. His closest contact

with the carnage took place a few days after being relieved of his post when he "could see and

smell the aftermath," which "reeked of death and despair."

         Mr. Qehath claims his experience "damaged" his life. causing him to suffer an array of

psychologically debilitating symptoms that included blaming himself for the October 23 attack,

difficulty trusting others, aggression, intimacy problems, and persistent ,intrusive thoughts about

the terrorist attack. Physicians at the VA diagnosed Mr. Qehath with chronic PTSD and bipolar

disorder.

         The special master found Mr. Qehath undeserving of the $1.5 million:award given.to those : ,         ,, ,

who emerged from the bombing suffering psychological injuries only., Focusing on· statements, , .

Mr. Qehath made to the VA when describing his "most traumatic event," the special master noted

that, rather than attribute his trauma to the blast or involvement in its· aftermath, Mr. Qehath

referred to an incident that took place prior to the bombing.· It appears Mr. Qehath· was the only ·

member of his unit who returned enemy sniper fire in derogation of the standing· rules of

engagement and for which he was almost court-martialed. Soon, after·thisiincident, the BL:f was·

bombed-an act Mr. Qehath believes was undertaken in retaliation- for his firing: on the eneiny. -

On this evidence, the special master found it more than likely that Mr.. Qehath's.documented

ailments stemmed not from the bombing of the BLT but from the events that took place before.the

blast.

         The Court has reviewed the record and concurs with the special master~s finding of a lack . · , •,

of proximate causation between the Marine Barracks bombing and Mr. Qehatb's ·psychological·

injuries. The touchstone of proximate causation is the existence of '~some reasonable connection

between the act ... of the defendant and the damage which the plaintiff has suffered.'' , Owens; ..



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864 F.3d at 794 (quoting Kilburn, 316 F.3d at 1128).          It is often explicated "in terms of

foreseeability or the scope of the risk created by the predicate conduct." Flanagan v. Islamic

Republic ofIran, 190 F. Supp. 3d 138,177 (D.D.C. 2016) (quotingParoline v. United:States,:572 •

U.S. 434,444 (2014)). The Court agrees with the special master that it was not "foreseeable" Mr.

Qehath would fire on the enemy before the October 23 terrorist attack, face· a court-mar-tial, take

personal responsibility for the destruction that followed, and suffer psychological. trauma as- a•

result.                                                      ..   !,




           As noted above, this Court previously found two claimants with a: record of similarly·.. ,. ·· . · , .

detached involvement both during and after the destruction· of-the-BLT deserving·of an-award ·of·.:·•     .J ·   : • •




$750,000 in compensatory damages. See Relvas, 2018 WL' l092445, at·*-2·; .. -Accordingly;-·the ·... ,

Court ADOPTS the recommendation that Megunah Ben Qehath be awarded compensatory

damages in the amount of $750,000.

                  3.     Denial of Compensatory Damages

                         (a)    Myron A. Kyle

          The special master recommended Myron Kyle's prayer for. compertsatOF)' damages.be:-·.

denied. Report of Special Master re: Myron A. Kyle ("Kyle Report':); ECF No:· 47 at 15~ · His · ·· ·

decision was grounded on the fact that, on October 23, 1983., Mr. Kyle. was· not in Beirut, but              ,, .-.

training in the Mojave Desert. He claimed injuries resulting. from the -October; 23 attack based on r,.   , · 1 j,.,


his relationship with several Combat Engineers who deployed to1 Beirutiin- June 1983 and, were ,·· :.•~ . ·.

killed in the blast. Mr. Kyle deployed to Beirut from "mid-February of 1984'' to June 30, 1984~

as part of an engineering detail, assisting in the extraction of the Ambassador's family and· staff .

and completing various projects at the embassy compound. While in Beirut;· Mr. Kyle's squad               · · "· ·

was subjected to "small-arms fire" and faced "increas[ed] security threats~'~



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       Mr. Kyle, who did not witness the destruction of the Marine Barracks and participated in

none of rescue and recovery efforts, claims the October 23 attack caused him to experience

"frightening, irrational thoughts at times which led to anxiety, depression, and hypervigilance." In

2012, almost 30 years after bombing, Mr. Kyle sought help from his local VA. He maintains that

in December 2013, the VA "diagnosed [him] with Post-Traumatic Stress Disorder (PTSD) as a

result of the terrorist act that occurred on October 23, 1983," and rated him as 70% disabled.: ·The

VA Rating Decision supplied in support of his claim confirms a 70% disability rating ~~for major •

depressive disorder" related ''to military service." Kyle Report at 6.. The-VA listed. Mr.. Kyle's .

symptoms to include "Speech intermittently illogical"; "Speech intermittently. irrelevant'?;. '$peech    !




intermittently obscure"; "Disturbances of motivation and11mood'i';, ·"Depressed mood~'; '~Mild·

memory loss"; and "Suspiciousness," resulting in "Occupational and social impairment due. to

mild or transient symptoms which decrease work efficiency aild ability to- perform occupational-·

tasks only during periods of significant stress." Id.

       Notwithstanding the VA's diagnoses of Mr. Kyle's mental state and symptomology, the

special master recommended his claim be denied on the grounds ,that Mr.· Kyle lacked; any viable ,

theory of liability under the FSIA and that he failed to demonstrate ·the-requisite-nexus between••···· ..

the bombing of the Marine barracks and his deteriorating mental·state.:·The:Courtagrees~:: ···.·

       The FSIA "require[s] plaintiffs to prove a theory of liability': in which plaintiffs articulate

a justification for the recovery of the damages which they seek,; generally expressed·"through,the ..

lens of civil tort liability." Oveissi v. Islamic Republic ofiran,. 879 F. Supp~ 2d.44, 52· (D.D.C .. · :.

2012) (quoting Rimkus v. Islamic Republic ofIran, 150 F. Supp.- 2d: 163; 176, (D.D~c. 2010)):- . . ·

Mr. Kyle presses three such theories: assault, battery, and intentional- infliction of emotional

distress ("IIED"). None survive legal scrutiny.



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        Liability for assault under the FSIA is established where a defendant "(l) acted 'intending

to cause a harmful contact with ... or an imminent apprehension of such a contact' by, those

attacked and (2) those attacked were 'thereby put in such imminent apprehension/~' Va/ore, 100.

F. Supp. 2d at 76 (quoting Restatement (Second) of Torts § 21 (1 )).                                           Liability for battery is

demonstrated where a defendant "acted 'intending to cause a harmful or offensive contact with·

... or an imminent apprehension of such a contact' by, those attacked and .•.. '.a harmful contact •·

with' those attacked 'directly or indirectly result[ed]."' Va/ore,100 Fi Supp; 2d at 77 (quoting

Restatement (Second) ofTorts § 13). And liability for IIED attaches when "[o]ne who by extreme •

and outrageous conduct intentionally or recklessly causes severe· emotional· distress·to·another·is··

subject to liability for such emotional distress, and if bodily· harm to the· otl)er· results from it; for···

such bodily harm." Heiser v. Islamic Republic of Iran (Heiser II}, 659 F. Supp. 2d 20, 26 (D.D.C.

2009) (quoting Restatement (Second) of Torts § 46(1)). In cases pressing claims for IIED or

solatium, our courts have limited the plaintiff class "to a party against whom the extreme and .. :

outrageous conduct was not directed if that party is ( 1) a member of the victim~ s immediate family · · ·.

and (2) was present at the time of the extreme and outrageous conduct.'', Wolfley,.75 F~,Supp.,Jd. · ;,

at 336 (citing Murphy v. Islamic Republic of Iran, 740 F. Supp. 2d 51, 75 (D~D.C. 2010));·see··-

Restatement (Third) of Torts§ 46(2)(a).                         \' '   ~. ••   • f   I •   •   ; ; '   •   ;            '· - : ••-.   ,·   i .   .




       The special master concluded that Mr. Kyle's presence in the.Mojave Desert at the time ofi

the terrorist attack fatally undercut his claim that he either was the :victim ofa "harmful or offensive ,

contact" or placed in reasonable apprehension thereof, while- the lack' of evidence he was· an ·;

immediate family member of an injured or deceased serviceman, nullified· his theory of IIED::                                                        ·.. ·'




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        The specfal master also found a lack of proximate causation between the bombing of the

Marine barracks and Mr. Kyle's emotional state 30 years later, concluding the nexus between the

events too tenuous to support his claim.

        Mr. Kyle objected to the special master's findings, ascribing three errors to the report and

recommendation. Objection of Myron Kyle ("Kyle Objection"), ECF No. 61.

        Fir.st, Mr. Kyle maintains the VA report "clearly reflects that it was-Plaintifrs experiences .

related to the October 1983 bombing which were his stressots,. and that his deployment in Beirut

following the bombing contributed to his mental level of major depression." .Jd. at 2-3 .. He insists.

the VA "found that Mr. Kyle met the criterion for a depressed ·mood disorder because• he· .                      .•-   1




(I) directly experienced a traumatic event and (2) learned that the traumatic event of a close family .,

member or close friend where the actual death was violent and he experienced extreme exposure.

to aversive details of a traumatic event." Id.

        Second, Mr. Kyle faults the special master for paying undue attention to ''the fact that the..

Plaintiff was not present in Beirut at the time of the bombing and did not participate in the search,

rescue and/or recovery after the bombing as a basis for not finding the .Plaintiff entitled to· recover.'.',•

Id. at 3. Citing Relvas v. Islamic Republic ofIran, No. l :14-cv-01752-(RCL); 2018 WL--1092445:.::.

(D.D.C. Feb. 28, 2018) and Wamai v. Republic of Sudan, 60 E Supp. 3d 84 (D.D.C.·2014), Mr.

Kyle argues that "entitlement to recovery does not require a victim to be. present. at the location .of . . ..

the bombing in order to recover for a claim of PTSD." Kyle Objection, at 3-4. · ,

        Third, Mr. Kyle maintains the special master erred when he·concluded that a "causal link,·

between his 'curreflt symptomatology and the claimed in-service· stressor'." was not established...

Id. at 4 (quoting Kyle Report at 14).




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        The Court finds Mr. Kyle's objections to be without merit. It must be noted at the outset

that Mr. Kyle did not respond to the special master's observation that he failed "to prove a theory . •

of liability which justifies holding the defendant[] culpable for the· injuries that the plaintiffs· have.

allegedly suffered." Kyle Report at 12. Rat~er, he supported his objections with three exhibits.

Exhibit A-a copy of his declaration, dated March 23, 2021; Exhibit B-a letter from- the

Department of Veterans Affairs, verifying a disability rating·of70% for·ser-vice-connected "Major ,

depressive disorder" and an explanatory "Rating Decision" dated January 30, 2014; and Exhibit

C-a Medical Opinion Disability Benefits Questionnaire ("MO-DBQ") and· an Initial· PTSD· ,

Disability Benefits Questionnaire ("PTSD-DBQ")-stahdardized forms employed·,by··VA                           · · · ·,,

clinicians performing disability, compensation, or pension examinations~ ·· · ·· ··:.· ·:

        The Court finds Exhibits A and B unsupportive of Mr. Kyle's position. Exhibit A, ·Mr~

Kyle's declaration, is identical to that submitted to the special master and fails to bolster his

assertion that being in the same unit several months before the attack with servicemen who

perished in Beirut warrants compensatory relief. Exhibit B is similarly unhelpful, as it confirms· ·

only that the VA rated Mr. Kyle with a 70% service-connected disability. rating. with the; above-.·

noted symptomology. Unfortunately, neither the VA letter nor the Rating Decision clarify whether

Mr. Kyle's compromised mental state was caused by the Marine Barrack~ bombing, the events ·

that occurred when he was stationed in Beirut between February and June 1984, or an undisclosed

incident or event that occurred during his military service.·. To qualify for. VA benefits, a veteran :·

must have (1) evidence of an occurrence or aggravation of-a disease or-injury- in service, (2) ·a

medical diagnosis of a current disability, and (3) a medical nexus between the in-service injury or

disease and that disability. 38 U.S.C. § 1110. Under this regime, Mr. Kyle would qualify for VA

benefits if he successfully demonstrated the existence of any. in service incident that resulted in · ·



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injury or disease. The FSIA is more restrictive, recognizing only those claims that were ."caused

by" a terrorist incident. 28 U.S.C. § l 605A(a)(l ). If Mr. Kyle's injuries arose out of events that

transpired while in Beirut in 1984 or some other incident, his claim would go unredressed-. In

short, the VA's failure to delineate the precise "injury in service" renders Mr. Kyle's 70%

disability rating unavailing in his claim for damages under the FSIA.

        Exhibit C warrants further discussion. In the PTSD-DBQ, the.VA psychologist overseeing· .

Mr. Kyle's medical examination recorded the two stressors identified by Mr., Kyle as contributing.

to his depressed state. The first "stressor" occurred,

               [i]n October 1983 when the bombing occurred, [and] Mr. Kyle was·:
               in California scheduled to go on a 3 day exercise. He had a small
               transistor radio. When the bombing occurred, his unit grouped
               around the radio any time they were able to do so. They knew
               people who were there and the body count kept climbing. He got
               through to his mother after 3 days and she was frantic because she
               didn't know where he was. Back at the barracks it was different
               because there was a platoon that was not returning and the rest of
               the platoons were deployed. His unit went to Beirut in February.

ECF No. 61-3 at 14.

        The second "stressor" occurred after he                     . 'l   ,



               was deployed to Beirut, [where] the rules of engagement were such• . •
               that they were not allowed to defend themselves if they felt
               threatened. They had to call in for permission. His unit did come· ·
               under fire at times. It was sporadic fire but they mostly hunkered,       , .· • ·
               down undercover. They were between where the guns were being .
               fired and where the bullets were hitting. In describing how this
               affected him, he reported that they were involved in a role play. The;
               guns had blanks in them. When they got off, some people started
               shooting. He and another marine immediately dropped behind. a                    , •,
               barricade and returned fire. They were totally shocked because it
               was an automatic reaction. Mr. Kyle became very tearful while
               telling this.

Id. at 15.




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        Based on these and other responses, the VA foreclosed a diagnosis of PTSD and concluded

Mr. Kyle was suffering from "Major Depressive Disorder" conforming to the Fourth and Fifth

Editions of The Diagnostic and Statistical Manual of Mental Disorders ("DSM-IW' and "DSM-                     , .    .,

5")-diagnostic and taxonomic guides published by the American Psychiatric Association

("APA"). In his objection, Mr. Kyle appears to focus on the VA psychologistls affirmative

response to the question: "Was the Veteran exposed to a traumatic event where he/she experienced,

witnessed or was confronted with an event or events that involved actual. or threated death· or

serious injury, or a threat to the physical integrity of self or others? (DSM-IV A 1 Criterion).',' •ECF ·

No. 61-3 at 14. Mr. Kyle suggests this affirmation alluding to the threat to "~others;" conclusively ·: · " ·· · ,· ·· · ·:

establishes a causative link between the October 23, 1983 attack and·his depressed mental·state 30

years later and justifies an award of compensatory damages. Mr. Kyle's position is unsustainable

as it erroneously conflates the prerequisites for establishing benefits under VA guidelines with the

criteria required of an FSIA claimant to receive compensatory damages. ·

        The DSM Criterion A for PTSD can be satisfied if an individual has been.."[e]xpos[ed] to ·

actual or threatened death, serious injury, or sexual violence'' through ,"[l]eaming that the traumatic

event(s) occurred to a close family member or close friend," and was "violent oraccidentaL~'- Am...... .

Psychiatric Ass'n, Diagnostic and Statistical Manual of Mental Disorders-(5th ed,:201-3). Provided-

a veteran conforms to the remaining seven DSM-5 criteria,.he·may be·eligible.for PTSD benefits

upon learning that a "close friend" has been the victim of a-violent act.: ·The standards governing

claims for damages brought by victims of terrorist attacks are not as liberal as those govemingthe., · ·

Department of Veterans Affairs when assessing the benefits·claims of veterans.· Under.the FSIA,.

a "close friend" is not the legal equivalent of a "victim's immediate family~' merriber,··Heiser II,·

659 F. Supp. 2d at 27, and thus lacks standing to pursue compensatory relief. .When-adjudicating ,



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terrorist claims, our courts have consistently been mindful of "the realities of tort law and the

necessity of limiting recovery to a definable scope of individuals." Id. at 29 (quoting Jenco -v.

Islamic Republic of Iran, 154 F. Supp. 2d 27, 36-37 (D.D.C. 2001)}~· To put this in perspective,

were Mr. Kyle a cousin or uncle with close personal ties to one of the Marines killed in Beirut, he

would be entitled to no compensatory relief under the FSIA, as. our courts have "adopted the strict

meaning of 'immediate family,' defined as one's spouse, parents, siblings,• and children·," Heiser-,

II, 659 F. Supp. 2d at 28 (citing Jenco, 154 F. Supp. 2d at 38 n:8),.and excludes "'near relatives,' ·

'close associates,' or persons with whom the victim has 'close emotional ties .."~ Va/ore, 100 .F.

Supp. 2d at 78 (quoting Bettis v. Islamic Republic of Iran;·,3.15, F;Jd.325, 336,.(D~Ci Cir. 2003)).                               , , ··

The overbroad construction pressed by Mr. Kyle ignores this distinction and is·anathemato our · ·•

courts' carefully placed limitations.                                                      :   ,i




       Beyond this, Mr. Kyle's argument that the special master erred in.focusing on-Mr. Kyle-'s ·• .......

lack of presence in Beirut reflects a flawed interpretation of the facts and the law~·· The seminal ·

issue here is not whether Mr. Kyle was in Beirut at the time of the bombing, .but whether he

witnessed the terrorist attack or participated in the recovery-efforts that followed. His reliance on ·,                       i



Wamai and Relvas, therefore, is misplaced.                     .. .... •· .. • •· -· .... • ... •· •· •· •   - .. _...... •.

       In Wamai, the court awarded $1.5 million in damages to Edward. Mwae Muthama,.an

employee of the U.S. Embassy in Kenya. Mr. Muthama.was. working. offsite:when-.a bomb ....

exploded, killing 44 American employees and seriously wounding 21 others. - The. blast. also .

claimed the lives of approximately 200 Kenyans and injured 4;000·nationals~ ,Shortly-after the ·

attack, Mr. Muthama headed to the blast site and spent days administering aid to survivors ·and .

handling the dead bodies and remains of his murdered colleagues, for which he suffered emotional·

distress. Wamai, 60 F. Supp. 3d at 92. In Relvas, the court awarded $750,000 to Al Duncan and



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Ross Morrison, neither of whom was in the immediate proximity of the barracks blast. Mr. Duncan

"witnessed the actual rubble of the barracks and the first responders that were-working there, the-

overturned vehicles, [and] the levels of the barracks that collapsed,."· while Mr. Morrison, although

not a participant in the rescue operation, viewed the aftermath of the bombing from a distance.

Relvas, 2018 WL 1092445, at *3-4. Mr. Kyle's experience bears no resemblance to the claimants

in either case.

        The special master concluded that, without more, Mr. Kyle's sense of outrage and anguish

over the tragic loss of military personnel cannot ground a claim under the FSIA. -This conclusion

is not without precedent. In Akins v. Islamic Republic of Iran, 332·F~ Supp:· 3d· l·(D:D.C.·2018), ·

the court dismissed the claim of serviceman Christopher 0alletto; Mr; Galleto·was-not present
                                                                             0




when the Khobar Towers housing complex was bombed, yet "felt a.tremendous sense of grief and.

loss" after the attack and had "never come to grips with the loss of three of [his] closest friends on

that terrible day." Id. at 3 7 n.12. Observing that Mr. Galletto' s IIEO- theory was unsupported "by

the Restatement or by Circuit precedent, or by any decisions by other Judges of this Court,!' the

court reasoned that "'to collect for intentional infliction of emotional distress Jn cases· such as this:

one, the plaintiff need not be present at the place of outrageous conduct;; but-must. be a. member. of

the victim's immediate family,' or, with 'a slight stretching of the immediate-family recjµirement,' •

step-parents of the victim." Id. at 37 n.12 (quoting Heiser II, 659,F. Supp.-2d at 27,, 29).

       The rationale in Akins applies here with equal force. To hold otherwise, and allow Mr. -· .

Kyle's suit to proceed would open the floodgates to prospective litigants who were neither exposed

to the attack nor involved in any facet of the search, rescue, and recovery effort. Except for those

family members deserving of a solatium award, our courts hew to the well-settled principle that :'.'a··

plaintiff who complained of harm flowing merely from the misfortunes visited'upon a third person



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by the defendant's acts [is] generally said to stand at too remote a distance to recover." Holmes v.

Sec. Inv. Prof. Corp. 503 U.S. 258, 268-69 (1992). Absent such a restriction, one would be hard-

pressed to locate an American civilian, much less a member of the military, who did- not anguish

over the senseless slaughter of 241 Marines. To allow a forum for every individual so impacted

to sue would tum the FSIA on its head. In the final analysis, our courts simply lack the "authority

to stretch the law beyond its clear bounds to satisfy our sense of justice:". Bettis, 315 F .3d at 336 ..

       The Court ADOPTS the special master's recommendation-that Myron Kyle's claim for..

compensatory damages be denied.

        B.      Solatium

        This Court developed a standardized approach for FSIA intentional- infliction of emotional•

distress, or solatium, claims in Heiser v. Islamic Republic of Iran (Heiser /), 466 F. Supp. 2d 229

(D.D.C. 2006). In Heiser I, this Court surveyed damages awarded to- the family members of the -

deceased victims ofterrorism and determined, based on averages; that "[s]pousestypically receive·

greater damage awards than parents [or children], who, in tum, typically receive greater awarqs

than siblings." Id. at 269. This Court then established a framework-whereby spouses 0fdeceased, •                     ~   I       •   I '




victims receive approximately $8 million, while parents receive-$5 mill-ion •and-siblings receive--•·•

$2.5 million. Id.; see also Va/ore, 700 F. Supp. 2d at 85 (observing that courts have."adopted the

framework outlined in Heiser I as 'an appropriate measure of damages foflhe-familymembers of.               f ••.   ; .




victims"' (quoting Peterson II, 515 F. Supp. 2d at 51)). When the distress results:from injur,y to a

loved one, courts reduce solatium awards to half of the value set out in Heiser 1~~'$4 million, $2-5 - · • ·• .               1




million[,] and $1.25 million to spouses, parents, and siblings, respectively."· Davis v, Islamic

Republic of Iran, 882 F. Supp. 2d 7, 14 (D.D.C. 2012). And when servicemembers, receive the

baseline of $1.5 million for pain and suffering damages, courts· reduce so latium awards further,- -·



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"$1 million for spouses, $850,000 for parents, $750,000 for children, and $500,000 for siblings."

Id. at 16.

        When applying this framework, this Court is mindful that "[t]hese numbers· •.. ,. are not set ••·

in stone," Murphy, 740 F. Supp. 2d at 79, and that deviations may be warranted when confronted

either with "evidence establishing an especially close relationship between the plaintiff and

decedent, particularly in comparison to the normal interactions to be expected given the• familial

relationship," "medical proof of severe pain, grief or suffering on behalf of. the claimant,."· or·

"circumstances surrounding the terrorist attack [that rendered] the .suffering particularly more•

acute or agonizing." Oveissi, 768 F. Supp. 2d at 26-27. Conversely;·downward!departtires may'····

be appropriate where the evidence suggests that the relationship between the victim ·and· his· family-· · · - · ! •                                   0
                                                                                                                                                          •




members is attenuated, Va/ore, 700 F. Supp. 2d at 86, or where a claimant fails to "prove damages

'in the same manner and to the same extent' as any other default winner." Hill, 328 F.3d at 683

(quoting Alameda, 622 F.2d at 1048).

        The Court next discusses the one instance where the special master's recommended award

for loss of solatium strays from the Heiser I framework.        , . i•   , : •. · • - , ;1. , • •. , ·, · ·, ·•   . . • •·   , , · , . : •.·



                I.      Downward Departure

                        (a)     Isiah J. Young and Chy/a D. Young

        Isiah Young's and Chyla Young's claims are derivative:. to that ,of-their father, Virgil- ,·

Young, who suffered psychological injuries resulting from his experiences.in Beirut and.for whom,,

the special master recommended a~ award of $1.5 million.· The special· master recommended·                                                     · ··

Chy la Young receive $ I 00,000 and Isiah Young receive $150,000----downward departures. from

the $750,000 our courts have awarded children of victims receiving·$ LS- ·million -in damages for ·; ·,

pain and suffering. Report of Special Master re: Virgil T. Young, Jr.~ Isiah J. Young, and: Chyla ,.



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D. Young, ECF No. 56 at 20 (citing O'Brien, 853 F. Supp. 2d at 47; Estate of Bland v. Islamic

Republic of Iran, 831 F. Supp. 2d 150, 157 (D.D.C. 2011)).

         The special master recommended reduced awards, questioning the veracity of Isiah's and

Chyla's sworn declarations. He found that Isiah and Chyla offered up unusually nuanced and

detailed descriptions of events they purportedly witnessed as, infants. The special master was

particularly troubled that at least six of the twelve substantive paragraphs in their respective

declaration were identical. Reasoning that declarations are sworn statements designed' to afford ·, :.

the finder of fact insight into the unique set of injuries suffered by indiv.idual claimants~ the specjal

master found Chyla's and Isiah's plagiarized account of eventsilacking. in credibility. The special.• ..

master concluded that the baseline awards should be reduced accordingly: And as,lsiah was.older

than Chyla and more likely to comprehend some of the unseemly events that took place in- the

Young household, the special master recommended he receive the-larger-of the two awards.           s   •   •




         The Young children filed an objection to the special master's report· and recommendation,

arguing, in the main, that the special master erred by not acknowledging prior. decisions where our

courts have awarded solatium damages to claimants who were infants when· their ·parents were

killed or held hostage. Objection of Isiah J. Young and Chyla D. Young-,-ECF No •. 62 at-3-4> .:.
    •'


While the Youngs correctly observe that our courts have compensated young children and infants .

whose parents were victims of terrorism, neither Isiah nor Chy la confronts the special master's....

credibility concerns, much less his observation that each .declaration. ,was• little--more than a·•

photocopy of the other.

         The Court sees no reason to dispute the findings of the special master: As previously

stated, when assessing the viability of an FSIA claimant's prayer for relief, the special master may

rely on "uncontroverted factual allegations" that are "supported by.•;•. documentary and affidavit



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evidence," Rimkus, 750 F. Supp. 2d at 17l(quoting Va/ore, 700 F. Supp. 2d at 59), and "may

accept plaintiffs' uncontroverted evidence as true." Lanny J. Davis &Assocs; LLC; 962- F.. Supp•....

2d at 163 (emphasis added). The special master has chosen not- to credit the· bulk of the testimony

offered by Isiah and Chy la Young and has reduced their awards accordingly ..

         The Court ADOPTS the special master's recommendation that Isiah Young receive

$150,000 and Chy la Young receive $100,000 in compensatory damages for loss-of solatium.                               •

         C.       Economic Damages

         28 U.S.C. § 1605A, like its statutory predecessor 28 U.S.C. ·§ 1605(a)(7), establishes a,:a··

cause of action for economic damages resulting from an act ofstatei..sponsored-terrerism.· In·Est-ate··· .. i.                         •




of Bland, this Court awarded economic damages for lost wages;resulting from: injuries-suffered-in -· ·· · · ·. ·

the 1983 Marine Barracks bombing and for loss of accretions to the estates of those killed in:the

attack. 831 F. Supp. 2d at 156. Loss of accretion damages "are calculated by estimating a

decedent's future earning potential based on the individual's work and ·education and adjusting                                 ·

that amount to account for inflation, rise in productivity, job advancement,; and: personal:.

consumption." Stethem v. Islamic Republic of Iran, 201 F. ·Supp., 2d 78, 87, (D.C. ·2002),(citing• .·:

Flotow v. Islamic Republic of Iran, 999 F. Supp. 1, 28 (D.o~c. 1998))~·.- · -~;::· ····_.-:·.-.--:::.-· .. .:· ..-~ ·.-···· ·

         Before authorizing a recovery for economic losses, this Co·urt must, be! presented -with

evidence which affords a reasonable basis for measuring the· claimantrs, ·loss.                               Although          · 1:

mathematical exactitude is often impossible, proof of economic-losses should, be established with . , ··.

reasonable certainty and not grounded in speculation, contingency; or conjecture~-•- · " -· · .. , ··; , ·

         The economic losses sought both by those injured in the terrorist attackand by.the estates···

of those who perished have proven to the satisfaction of the -special- master, -and: thus,··t0- the-· · '· · -

satisfaction of this Court, to be valid. Va/ore, 700 F. Supp. 2dat:85;,The:one"instance the special



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master rejected a claim for economic relief was in the case of Myron Kyle,. who lacked a

sustainable cause of action. As financial losses are derivative claims which presuppose an injury

sustainable under the FSIA, the special master correctly recommended· Mr. Kyle's claim for

pecuniary relief be denied. See Kyle Report at 15.

       The Court therefore ADOPTS, without modification, the special· master's· recommended

damage awards for economic losses.

       D.      Punitive Damages                                      'j




       In assessing punitive damages, this Court has observed that any award must balance. the

concern that "[r]ecurrent awards in case after case arising out.of the!;same .fa£ts·.can, financially. ... :

cripple a defendant, over-punishing the same conduct through. repeated· awards• -w.ith.i little •r· ·

additional deterrent effect," Murphy, 740 F. Supp. 2d at 81, against the.need to continue to deter

"the brutal actions of defendant[] in planning, supporting and aiding the execution of [terrorist·

attacks]." Rimkus, 150 F. Supp. 2d at 184. To further this goal, this Court held that the calculation · ·

of punitive damages in subsequent related actions should be tied directly to the ratio of punitive to -

compensatory damages established in earlier cases. Murphy", 740 F. Supp. 2d al 82...l...83~,:The ratio ,

of $3.44 was established in Va/ore-an earlier FSIA case arisiilg-out-of.the:Beimfbombing.- Id.··

(citing Va/ore, 700 F. Supp. 2d at 52). The Court will again apply this same ..$3-.44·.ratio; resulting · -

in a total punitive damages award of $243,505,990.00.

                                      III.   CONCLUSION

       This Court acknowledges and appreciates the efforts by plaintiffs to hold Iran accountable . ,·

for its support of terrorism. The Court concludes that the defendant must be punished to·the fullest

extent legally possible for the bombing in Beirut on October 23, 1983-a- depraved:. act that

destroyed the lives of countless individuals and their families; induding the 33- plaintiffs: who :are



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parties to this lawsuit. T hi s Court hopes that the victims and the ir families m ay fi nd some measure

of solace from this Court' s final judgment.

       The Court fi nds defendant responsible for the inj uries s ustained by the plai ntiffs and thus

liable under the FS IA' s state-sponsored terrorism exception fo r $70,786,625.00 in compensatory

damages and $243,505,990.00 in puniti ve damages, for a total award of $3 14,292,6 15.00.

       A separate Order and J udgment cons istent w ith these findings sha ll be entered this date.




DATE: April I-(-, 2022

                                                               United States District Cou11 for t he
                                                               District of Columbia




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